Case No. 1:17-cr-00334-CMA            Document 6 filed 09/21/17       USDC Colorado        pg 1
                                             of 1




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                     Judge Christine M. Arguello

Criminal Action No. 17-cr-334-CMA

UNITED STATES OF AMERICA,

                 Plaintiff,
v.

MARCO CASTRO-CRUZ,

                 Defendant.


                              NOTICE OF ATTORNEY APPEARANCE


         COMES NOW, Boston H. Stanton, Jr., of the Law Office of Boston H. Stanton, Jr.,

hereby enters his appearance as counsel of record for defendant, Marco Castro-Cruz in the

above-captioned matter.

     Dated this 21st day of September, 2017.
                                               Respectfully submitted,
                                               LAW OFFICE OF BOSTON H. STANTON, JR.

                                               s/Boston H. Stanton, Jr.
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                                               ATTORNEY FOR MARCO CASTRO-CRUZ

                                   CERTIFICATE OF MAILING
        I hereby certify that on September 21, 2017, I electronically filed the foregoing NOTICE
OF ATTORNEY APPEARANCE with the Clerk of the Court using the CM/ECF system, which
will send notification of such filing to all interested parties, to include the following:

Guy Till guy.till@usdoj.gov
                                               s/Boston H. Stanton, Jr.
                                               LAW OFFICE OF BOSTON H. STANTON, JR.
